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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Richmond Division

UNITED STATES OF AMERICA
Vv.
SUREN SEIRANOVICH MKRTCHYAN
a/k/a “Sirius,” “Armyanin,” and
“Armyashka,”

DMITRY BUDNIK
a/k/a “Molot,”

VALERII LNU
a/k/a “Val,”

and

NAZAR LNU,

Defendants.

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RICHMOND, VA

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FILED UNDER SEAL
Criminal No. 3:23-cr- \\p\

Count 1: 18 U.S.C. § 371
Conspiracy to Commit War Crimes

Counts 2-4: 18 U.S.C. §§ 2441 and 2
War Crimes

INDICTMENT

December 2023 Term — at Richmond

THE GRAND JURY CHARGES THAT:

GENERAL ALLEGATIONS

A. International Armed Conflict Between Russia and Ukraine

1. Starting on or about February 24, 2022, the Russian Federation (Russia) launched

a full-scale military invasion of Ukraine, a country located in Eastern Europe that shared a border

with Russia to its east and northeast. Continuing from that date through at least the date of this

Indictment, an international armed conflict existed between Russia and Ukraine. During all times

relevant to this Indictment, the United States was not engaged in an armed conflict with Russia.

2. Russian Armed Forces and their proxies, including military units from the so-called

Donetsk People’s Republic (DPR), sought to gain control of portions of Ukraine. The DPR was an

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internationally unrecognized republic located in Donetsk Oblast, a province in eastern Ukraine.
Russia and its proxies controlled DPR territory.

3. From the invasion on or about February 24, 2022, through at least the date of this
Indictment, the Ukrainian government, its Armed Forces, and affiliated armed groups fought to
defend Ukraine’s territory.

4. By April 2, 2022, and lasting through at least on or about April 12, 2022, Russian
Armed Forces and their proxies, including military units from the DPR, exercised control and
authority over the area encompassing Mylove, a small village located in Kherson Oblast in
southern Ukraine.

B. The Defendants and the Victim

5. Defendants Suren Seiranovich MKRTCHYAN, Dmitry BUDNIK, VALERII
LAST NAME UNKNOWN (LNU), and NAZAR LNU were foreign nationals. MKRTCHYAN
and BUDNIK were commanding officers of the Russian Armed Forces and/or DPR military units.
VALERII LNU and NAZAR LNU were lower-ranking members of the Russian Armed Forces
and/or DPR military units. MKRTCHYAN, BUDNIK, VALERII LNU, and NAZAR LNU were
fighting on behalf of Russia in the international armed conflict between Russia and Ukraine.

6. The victim (V-1) was a national of the United States who, beginning in or around
2021, lived in the village of Mylove. As of April 2, 2022, V-1 was still living in Mylove. V-1 did
not fight or otherwise participate in the international armed conflict between Russia and Ukraine.
V-1 was a protected person under the Geneva Convention Relative to the Protection of Civilian
Persons in Time of War of 12 August 1949,

Cc. The Defendants’ Abduction of the Victim
7. On or about April 2, 2022, MKRTCHYAN, VALERII LNU, NAZAR LNU, and

other co-conspirators, both known and unknown to the Grand Jury, abducted V-1 from his home
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in Mylove.

8. During the abduction, MKRTCHYAN, VALERII LNU, NAZAR LNU, and other
co-conspirators threw V-1 face down to the ground while he was naked, tied his hands behind his
back, pointed a gun at his head, and beat him with their feet, their fists, and the stocks of their
guns.

9, After allowing V-1 to get dressed, MKRTCHYAN, VALERII LNU, NAZAR
LNU, and other co-conspirators beat him again and then transported him forcibly against his will
to buildings that the Russian Armed Forces and/or DPR military units were using as an improvised
military compound in Mylove.

D. The Defendants’ Beatings and Interrogations of the Victim
10. VALERIT LNU, NAZAR LNU, and other co-conspirators took V-1 to a building

that they used as a jail. V-1’s hands were still restrained behind his back when he was thrown into
a closet being used as a jail cell. A co-conspirator used his fists, knees, and gun stock to beat V-1
severely on his legs, back, stomach, and head. V-1 remained in restraints during this beating.

11. —_ Later, on or about April 2, 2022, V-1 was taken to a room in another building, where
soldiers from the Russian Armed Forces and/or DPR military units interrogated him.
MKRTCHYAN and BUDNIK led and participated in at least two interrogation sessions in which
MKRTCHYAN, BUDNIK, VALERII LNU, NAZAR LNU, and other co-conspirators committed
acts specifically intended to inflict severe and serious physical and mental pain and suffering upon
V-l.

12. During an interrogation, MKRTCHYAN, VALERII LNU, NAZAR LNU, and
other co-conspirators stripped off V-1’s clothes and photographed him.

13. After V-1 dressed, MKERTCHYAN, VALERII LNU, NAZAR LNU, and other co-

conspirators continued to interrogate, threatened to kill, and beat V-1. MKRTCHYAN, VALERII
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LNU, NAZAR LNU, and other co-conspirators pointed guns at V-1’s head, knees, and feet. A co-
conspirator held a knife to V-1’s throat. MKRTCHYAN, VALERII LNU, and NAZAR LNU beat
V-1. MKRTCHYAN hit V-1 in the back of his head with a gun, threatened to shoot him, and
punched him in his chest and stomach.

14. | BUDNIK came in and out of the room during V-1’s beatings and interrogations and
questioned V-1.

15. During one interrogation session, a co-conspirator threatened to sexually assault V-
1 and touched him in a sexual manner, including by kissing him on the cheek and rubbing his ear.

16. | When V-1’s answers did not satisfy the defendants, BUDNIK and other co-
conspirators threatened V-1 with death and asked for his last words.

17. Shortly after BUDNIK threatened V-1 with death, NAZAR LNU and other co-
conspirators conducted a mock execution of V-1. Specifically, NAZAR LNU and other co-
conspirators took V-1 outside, forced V-1 to the ground, put a gun to the back of V-1’s head, then
moved the position of the gun and pulled the trigger, causing the bullet to go past V-1’s head and
causing V-1 to believe he was about to die.

18. After the mock execution, MKRTCHYAN and other co-conspirators interrogated
V-1 further about who he was and asked if he was lying. NAZAR LNU and other co-conspirators
beat V-1 more. A co-conspirator, through an interpreter, told V-1 that V-1 was going to sleep.
MKRTCHYAN then said goodnight, causing V-1 to believe he was about to be killed. The co-
conspirators, however, took V-1 back to the closet being used as a jail cell.

19. MKRTCHYAN and other co-conspirators continued to detain V-1 until on or about
April 12; 2022. V-1 was forced to perform manual labor, such as digging trenches, on behalf of

the Russian Armed Forces and/or DPR military units.
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COUNT ONE
(Conspiracy to Commit War Crimes)

THE GRAND JURY FURTHER CHARGES THAT:

20. The General Allegations above are fully incorporated here by reference.

21. From on or about April 2, 2022, through on or about April 12, 2022, in an offense
begun and committed outside of the jurisdiction of any particular State or district of the United
States, including in and around the village of Mylove in Kherson Oblast in Ukraine, the defendants,
Suren Seiranovich MKRTCHYAN, Dmitry BUDNIK, VALERII LNU, and NAZAR LNU, who
will be first brought to the Eastern District of Virginia, did knowingly and intentionally combine,
conspire, confederate, and agree with one another and others, both known and unknown to the
Grand Jury, to commit war crimes against a protected person who was a national of the United
States in the context of and in association with an international armed conflict, specifically, the
following grave breaches identified in Article 147 of the Geneva Convention Relative to the
Protection of Civilian Persons in Time of War of 12 August 1949: unlawful confinement of a
protected person, torture, and inhuman treatment, in violation of 18 U.S.C. § 2441(c)(1) (2006).

22. The purpose of the conspiracy was to detain, confine, intimidate, punish, weaken,
interrogate, threaten, physically abuse, and obtain information from persons, including V-1, and
to prevent resistance from the local civilian population.

23. In furtherance of the conspiracy, and to accomplish its objects, MKRTCHYAN,
BUDNIK, VALERII LNU, and NAZAR LNU, and their co-conspirators committed overt acts,
including those described in the General Allegations of this Indictment.

(All in violation of Title 18, United States Code, Section 371.)
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COUNT TWO
(War Crime — Unlawful Confinement of a Protected Person)

THE GRAND JURY FURTHER CHARGES THAT:

24. The General Allegations above are fully incorporated here by reference.

25. From on or about April 2, 2022, through on or about April 12, 2022, in an offense
begun and committed outside of the jurisdiction of any particular State or district of the United
States, including in and around the village of Mylove in Kherson Oblast in Ukraine, the defendants,
Suren Seiranovich MKRTCHYAN, Dmitry BUDNIK, VALERII LNU, and NAZAR LNU, who
will be first brought to the Eastern District of Virginia, did commit, and aid and abet the
commission of, the war crime of unlawful confinement of a protected person, which constitutes a
grave breach under Article 147 of the Geneva Convention Relative to the Protection of Civilian
Persons in Time of War of 12 August 1949, in that the defendants willfully confined and detained
V-1 in the context of and in association with an international armed conflict, knowing at the time
and during the confinement that V-1 was a US. national, that the United States was not engaged
in an armed conflict with Russia, and that the location of V-1’s confinement was under the control
of the Russian Armed Forces and their proxies.

(All in violation of Title 18, United States Code, Sections 2441 (2006) and 2.)
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COUNT THREE
(War Crime — Torture)

THE GRAND JURY FURTHER CHARGES THAT:

26. The General Allegations above are fully incorporated here by reference.

27. From on or about April 2, 2022, through on or about April 12, 2022, in an offense
begun and committed outside of the jurisdiction of any particular State or district of the United
States, including in and around the village of Mylove in Kherson Oblast in Ukraine, the defendants,
Suren Seiranovich MKRTCHYAN, Dmitry BUDNIK, VALERII LNU, and NAZAR LNU, who
will be first brought to the Eastern District of Virginia, did willfully commit, and aid and abet the
commission of, the war crime of torture, which constitutes a grave breach under Article 147 of the
‘Geneva Convention Relative to the Protection of Civilian Persons in Time of War of 12 August
1949, against V-1, a protected person, in the context of and in association with an international
armed conflict, that is, by detaining, beating, threatening to sexually assault, threatening to kill,
and conducting a mock execution of V-1 for the purpose of obtaining information and a confession,
punishment, intimidation, coercion, and discrimination, all while V-1 was within the custody and
control of the defendants.

(All in violation of Title 18, United States Code, Sections 2441 (2006) and 2.)
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COUNT FOUR
(War Crime — Inhuman Treatment)

THE GRAND JURY F URTHER CHARGES THAT:

28. The General Allegations above are fully incorporated here by reference.

29. From on or about April 2, 2022, through on or about April 12, 2022, in an offense
begun and committed outside of the jurisdiction of any particular State or district of the United
States, including in and around the village of Mylove in Kherson Oblast in Ukraine, the defendants,
Suren Seiranovich MKRTCHYAN, Dmitry BUDNIK, VALERII LNU, and NAZAR LNU, who
will be first brought to the Eastern District of Virginia, did willfully commit, and aid and abet the
commission of, the war crime of inhuman treatment, which constitutes a grave breach under
Article 147 of the Geneva Convention Relative to the Protection of Civilian Persons in Time of
War of 12 August 1949, against V-1, a protected person, in the context of and in association with
an international armed conflict, that is, by detaining, beating, threatening to sexually assault,
threatening to kill, and conducting a mock execution of V-1, all while V-1 was within the custody
and control of the defendants.

(All in violation of Title 18, United States Code, Sections 2441 (2006) and 2.)

A TRUE BILL

FOREPE Se

Pursuant to the E-Government Act,
the original of this page has been filed
under seal in the Clerk's Office
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